
JUSTICE GRAY,
specially concurring.
¶16 I agree with the result reached by the Court, but not with its analysis. I would affirm the District Court on a different basis.
¶17 It is true, as the State argues and the Court determines, that § 46-18-201(2), MCA, authorizes a district court to defer imposition of sentence for a period not exceeding six years when a financial condition has been imposed as a condition of any felony sentence. However, the District Court clearly did not defer imposition of sentence for Ingersoll’s second felony under that statutory provision in this case. Instead, it specifically ran that three-year deferred imposition of sentence consecutive to the three-year deferred imposition of sentence on Ingersoll’s first felony. Thus, while the District Court could have acted pursuant to § 46-18-201(2), MCA, it did not do so. Furthermore, while the Court is correct that it makes no practical difference whether the District Court deferred imposition of sentence on the second felony for six years or deferred it for three years, and ran it consecutive to the deferred imposition on the first felony, the question before us is whether the court was authorized to do what it actually did, not whether it was authorized to achieve the same effect via a different course of action in sentencing. Moreover, I am concerned that applying the “right result, wrong reason” approach here effectively results in a prohibited modification of the sentence after the fact.
¶18 It is my view, however, that the District Court was authorized to do what it actually did in this case, namely, to defer imposition of sentence on each felony for three years and to run those deferred impositions consecutively. Section 46-18-201, MCA (1989), is entitled “Sentences that may be imposed” and subsection (l)(a) thereof expressly authorizes a deferred imposition of sentence. (Emphasis added.) Furthermore, § 46-18-401(4), MCA (1989), provides that separate sen*525tences for two or more offenses must run consecutively unless the court orders otherwise. Thus, even absent the District Court’s express provision that Ingersoll’s deferred impositions were to run consecutively, § 46-18-401(4), MCA (1989), would have produced that result by operation of law.
¶19 Ingersoll points out in this regard that § 46-1-201(9), MCA (1989), defined “sentence” as “the punishment imposed on the defendant by the court” and argues that punishment means, essentially, imprisonment. As a result, according to Ingersoll, his deferred impositions of sentence on the felonies were not “sentences” as that term is used in § 46-18-401(4), MCA (1989). His argument is flawed.
¶20 First, as mentioned above, the court’s authority to defer imposition of sentence is contained in the general sentencing statute, § 46-18-201, MCA (1989). Moreover, the definitional statute — § 46-1-201(9), MCA (1989) — does not define punishment at all, much less as narrowly as Ingersoll defines it. Indeed, Black’s Law Dictionary 1234 (6th ed. 1990), defines punishment in criminal cases as “[a]ny fine, penalty, or confinement.... A deprivation of... some right.” Where, as here, the deferred impositions of sentence placed substantial restrictions on Ingersoll and required him, among other things, to perform community service and make restitution, they clearly constituted punishment under § 46-1-201(9), MCA (1989).
¶21 Ingersoll contends, however, that our decision in State v. Rice (1996), 275 Mont. 81, 910 P.2d 245, precludes application of § 46-18-401(4), MCA (1989), here to run the deferred impositions of sentence consecutively. He argues that, in Rice, we held that “sentence” was synonymous with “punishment” and, as a result, excluded deferred sentences. I disagree. We did acknowledge in Rice that the pre-1991 statutory definition of “sentence” was “punishment.” Rice, 275 Mont. at 84, 910 P.2d at 246 (citation omitted). We did not conclude, however, that that definition excluded deferred impositions of sentence and, indeed, we could not properly have done so because the pre-1991 statute was not at issue in Rice.
¶22 I would conclude that deferred impositions of sentence were “sentences” under §§ 46-1-201(9) and 46-18-201, MCA (1989), and, as a result, the District Court was authorized to run the deferred impositions of sentence on Ingersoll’s two felonies consecutively. I would affirm the District Court on that basis.
JUSTICE NELSON dissents.
*526¶23 I respectfully dissent from the Court’s decision. I would order Ingersoll’s sentence on criminal mischief be vacated and require that he be released from probation and further supervision.
¶24 As the majority points out, under the version of the § 46-18-201, MCA, applicable to this case (the 1989 version), the trial court could defer sentencing on a felony for up to three years under subsection 1(a). Section 46-18-201, MCA, also gave the sentencing court additional authority to defer sentencing on a felony for up to six years for the purposes of paying restitution, costs, attorney fees, etc. Specifically,
(2) If any financial obligation is imposed as a condition under subsection (l)(a), sentence may be deferred for a period ... not exceeding 6 years for any felony, regardless of whether any other conditions are imposed.
¶25 In the case a bar, the sentencing court statutorily could have deferred imposing a sentence for 6 years on each of Ingersoll’s felonies to allow for the payment of restitution. But the court did not impose that sentence. Rather the District Court specifically deferred sentence for 3 years on each felony.
¶26 We, nonetheless, affirm because the sentencing court’s original deferrals were imposed to run consecutively. This is precisely the problem, however. There was no statutory authority in § 46-18-201, MCA, allowing the trial court to effectively stack 3-year deferred sentences by causing them to run consecutively rather than concurrently.1 Moreover, our determination that the court’s sentence was *527permissible because the statute did not prohibit consecutive deferrals is legally unsupportable.
¶27 Our case law clearly holds that the court derives its sentencing authority from statute and that it must have specific authority to impose a particular sentence. Indeed, absent statutory authority, the sentence is void.
It is well-established that a district court’s authority to impose sentences in criminal cases is defined and constrained by statute. State v. Wilson (1996), 279 Mont. 34, 37, 926 P.2d 712, 714. Moreover, “a district court has no power to impose a sentence in the absence of specific statutory authority.” State v. Hatfield (1993), 256 Mont. 340, 346, 846 P.2d 1025, 1029 (citations omitted); Wilson, 279 Mont. at 37, 926 P.2d at 714.
State v. Nelson 1998 MT 227, ¶ 24, 291 Mont. 15, ¶ 24, 966 P.2d 133, ¶ 24. See also State v. Moorman (1996), 279 Mont. 330, 336, 928 P.2d 145, 149 (court lacks subject matter jurisdiction to impose a sentence without statutory authority and sentence imposed in absence of subject matter jurisdiction is void).
¶28 In other words, a sentencing court has authority to impose a particular sentence because the statute specifically allows the sentence. The court derives no sentencing authority whatsoever from statutory silence prohibiting the sentence. The majority have simply turned the rule on its head.
¶29 Accordingly, under the circumstances of the case sub judice, since there was no statutory authority allowing the sentencing court to stack the deferrals, both of the deferrals ran concurrently and ran out 3 years after sentencing. Moreover, since the court did not have subject matter jurisdiction to cause the two 3-year deferrals to run consecutively, the remedy sought under post conviction relief is not procedurally barred under § 46-21-105. Moorman, 279 Mont. at 336, 928 P.2d at 149.
¶30 The law requires that we reverse the District Court and order that Ingersoll’s sentence be vacated on the criminal mischief charge and that he be released from probation and further supervision. We should remand for entry of an order consistent with that determination. I dissent from our failure to do so.
JUSTICE TRIEWEILER and JUSTICE HUNT join in the foregoing dissent.

. In this regard I also disagree with Justice Gray’s contention that § 46-18-401(4), MCA, justifies the court’s stacking of deferrals because “separate sentences for two or more offenses must run consecutively unless the court orders otherwise.” Whether an order deferring a sentence is a “sentence” is not the relevant inquiry. Clearly, § 46-18-201(l)(a) and (2), MCA, define the parameters of the court’s jurisdiction to defer imposing sentence — 3 years is the outside limit, except where a financial obligation is imposed. Accepting Justice Gray’s interpretation at face value, if the defendant was convicted of two offenses for which no financial obligation was imposed at sentencing, the court could, by stacking the two 3-year deferrals, nevertheless effectively place the defendant at risk for receiving at least one full sentence on revocation for a total of 6 years — a “sentence” only permitted if a financial obligation was imposed. If a financial obligation was imposed, using this same approach, the court could extend the total deferral exposure to 12 years — 2 years longer than the actual term of imprisonment for most felonies and most certainly 6 years longer than the maximum deferral time allowed by the statute. In their attempt to uphold a clearly illegal sentence by the trial court, the majority and the concurring justice have bent the statutory language beyond all recognition.

